896 F.2d 564w
    58 USLW 2449
    Laura Staples ESCOBAR, et al., Appellants,v.IMMIGRATION AND NATURALIZATION SERVICE, et al., Appellees.
    No. 89-5037.
    United States Court of Appeals,District of Columbia Circuit.
    Argued Oct. 30, 1989.Decided Feb. 2, 1990.Order on Grant of Rehearing and Rehearing En Banc April 25, 1990.
    Opinion withdrawn from bound volume, rehearing en banc granted.Appeal Dismissed Jan. 24, 1991.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    